         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2024-1949
                 L.T. Case No. 1996-CF-012318-B
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JASON TYLON SCOTT HOOKER,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County.
Jonathan David Sacks, Judge.

Jason Tylon Scott Hooker, Orlando, pro se.

Ashley Moody, Attorney General, and Zachary Lawton, Assistant
Attorney General, Tallahassee, for Appellee.

                        August 27, 2024

PER CURIAM.

    AFFIRMED. See Fla. R. App. P. 9.315(a).


EDWARDS, C.J., and LAMBERT and JAY, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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